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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST                              Civil No. 18-cv-01776 (JRT/HB)
LITIGATION




This Document Relates to:


All Consumer Indirect Purchaser Actions




        ORDER ON STIPULATION OF CONSENT FOR LEAVE TO FILE
            CONSUMER INDIRECT PURCHASER PLAINTIFFS’
    FOURTH CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

       Pursuant to the Stipulation of Consent for Leave to File Consumer Indirect

Purchaser Plaintiffs’ Fourth Consolidated Amended Class Action Complaint (ECF No.

1099) entered into by the parties, and finding that good cause has been shown,

       IT IS HEREBY ORDERED that the Stipulation (ECF No. 1099) is

APPROVED. Consumer Indirect Purchaser Plaintiffs are granted leave to file their

Fourth Consolidated Amended Complaint. Defendants are not required to answer the

Fourth Consolidated Amended Complaint, and all admissions and denials as to factual

allegations and all affirmative defenses in Defendants’ prior answers to the Second

Amended Complaint remain operative.

       Plaintiffs Eric Schaub, Kate Smith, Sarah Isola and Anbessa Tufa are dismissed

without prejudice, with each party to bear its own costs.
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DATED: January 7, 2022                  s/Hildy Bowbeer
                                        HILDY BOWBEER
                                        United States Magistrate Judge
